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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE WEATHERFORD INTERNATIONAL                       11 Civ. 1646 (LAK) (JCF)
SECURITIES LITIGATION
                                                      CLASS ACTION




           PLAINTIFFS’ NOTICE OF NON-OPPOSITION TO MOTION FOR
                  DISTRIBUTION OF NET SETTLEMENT FUND

       Lead Plaintiff American Federation of Musicians and Employers’ Pension Fund and

named plaintiff Georgia Firefighters’ Pension Fund (together, “Plaintiffs”) respectfully submit

this notice to inform the Court that the deadline for submitting any opposition to Plaintiffs’

Motion for Distribution of Net Settlement Fund (ECF No. 292, “Distribution Motion”) expired

on February 9, 2017, and no opposition or objections have been received or filed.

       Plaintiffs respectfully request that the Court enter the [Proposed] Order Approving

Distribution of Net Settlement Fund previously submitted with the Distribution Motion so that

the funds may be distributed promptly to members of the Settlement Class.

Dated: February 28, 2017                    Respectfully submitted,
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